         Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 1 of 27




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                     DEFENDANT’S OPPOSITION TO
           GOVERNMENT MOTION IN LIMINE ON ADVICE OF COUNSEL

       Defendant Stephen K. Bannon, through his undersigned counsel, respectfully requests that

this Court deny the Government’s Motion In Limine To Exclude Evidence Or Argument Relating

To Good-Faith Reliance On Law Or Advice Of Counsel [Doc. 29], for the reasons set forth below.

                                        BACKGROUND

       Picture this. You are a former top advisor to the President of the United States. You receive

a subpoena from a congressional committee. The subpoena includes 10 pages of arcane

instructions. It seeks testimony and documents about communications with your former boss while

he was President. You are not a lawyer. You retain a lawyer. He is a seasoned former federal

prosecutor who has experience with subpoenas. He explains that the former President has asserted

executive privilege, and that based on long-standing U.S. Department of Justice authority, you

should not appear for deposition or provide documents. He tells you that he will try to reach an

accommodation with the Select Committee. You follow the advice of your attorney. Shortly

thereafter you are charged with a crime and face up to two years in jail. You are told that when
         Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 2 of 27




you go to trial, the Government does not want the jury to hear anything about your state of mind,

your lawyer’s advice about the law, or your reliance on your lawyer’s advice. Justice or not?1

       The foregoing is not a hypothetical situation. It is the position taken by the Government in

this case. Yet every event in this case involved attorney advice. Every communication was between

attorneys. The Select Committee sought service of the subpoena not on Mr. Bannon, but via his

attorney, Robert J. Costello, Esquire. The communications that followed between the Select

Committee and Mr. Bannon were all made through attorneys. These communications involved

complex legal principles – such as executive privilege – that are the argot of lawyers, not laymen.

Based upon clear legal authority, Mr. Costello explained the legal justifications and

communications with Select Committee counsel to Mr. Bannon. Mr. Costello provided legal

justifications for Mr. Bannon’s position to the Select Committee and received responses back from

Select Committee attorneys. Mr. Costello provided legal advice to Mr. Bannon, and Mr. Bannon

acted on that advice.

       Mr. Costello’s advice, followed by Mr. Bannon, included the following:

                   •    The Select Committee subpoena was invalid, based on long-standing U.S.
                        Department of Justice authority, because the Select Committee would not
                        allow former President Donald J. Trump’s counsel to be present at Mr.
                        Bannon’s deposition, so as to protect executive privilege;

                   •    A former White House official does not violate 2 U.S.C. § 192 when a
                        President invokes executive privilege in response to a congressional
                        subpoena, based upon U.S. Department of Justice authority;

                   •    Mr. Bannon could not waive executive privilege, since the privilege
                        belonged to former President Trump; and

                   •    Because former President Trump asserted executive privilege, Mr. Bannon
                        was not in a position to determine what documents or testimony he could
                        lawfully provide to the Select Committee; and

1
 See, generally, A Theory Of Justice, John Rawls (1971) (in creating the rules of a just society,
the author must not know in advance where they would end up within that society).
                                                 2
         Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 3 of 27




                   •   Consistent with prior experience, the lawyers involved would attempt to
                       reach an accommodation between the two political branches, or the matter
                       would be determined by a court of law.

To be sure, there was a difference of opinion on the legal issues between lawyers for the Select

Committee and Mr. Bannon’s attorney. On behalf of Mr. Bannon, Mr. Costello asked the Select

Committee to allow a judge to decide the complex legal questions and declared that Mr. Bannon

would respond to the subpoena once the privilege issues had been resolved. That was not an

unreasonable position, given that where the political branches have a dispute involving executive

privilege, it is the role of the judiciary to “‘say what the law is.’” United States v. Nixon, 418 U.S.

683, 705 (1974) (quoting Marbury v. Madison, 5 U.S. 137, 177 (1803)). Yet the Select Committee

rejected that request. Mr. Costello, again on behalf of Mr. Bannon, also asked the Select Committee

for a one-week adjournment after former President Trump filed a civil lawsuit seeking the judicial

determination of certain executive privilege issues. That request was denied. Instead, the very same

day the Select Committee initiated this criminal prosecution.

       Now, the Government wants to whitewash that history. The Government makes two

principal arguments in support of its motion. First, the Government argues that a person commits

a crime if they receive a congressional subpoena and decides not to appear or produce documents

on the return date, regardless of the reason. [Doc. 29 at 3-6]. The Government’s theory – based on

a 60-year-old case that has been rendered obsolete by subsequent decisions – is without merit.

Controlling law dictates that 2 U.S.C. § 192 is not a strict liability crime, as the Government

contends. The Supreme Court has clarified that the word “willfully” in criminal statutes means

knowledge that one’s actions are unlawful. See Bryan v. United States, 524 U.S. 184, 191-192

(1998); Ratzlaf v. United States, 510 U.S. 135, 137 (1994).




                                                  3
            Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 4 of 27




          Notably, none of the cases cited by the Government involve a former top Presidential

advisor facing demands from a congressional committee on one hand, and an assertion of executive

privilege by a former President on the other hand. U.S. Department of Justice policy provides clear

direction. In such circumstances, Mr. Costello’s advice to Mr. Bannon about what the law requires

and Mr. Bannon’s reliance and right to rely on the advice of his attorney is highly relevant in a

subsequent criminal prosecution.

          The Government’s second argument is that this Court should rely upon legal principles that

pertain to criminal Contempt of Court (18 U.S.C. § 401(3)) when construing the Contempt of

Congress statute (2 U.S.C. § 192). No canon of statutory construction supports this theory, given

the different language used in the two statutes. Beyond that, Contempt of Court is a different

species entirely – unlike either civil or criminal actions. Contempt of Court involves an assertion

of power to enforce obedience and keep the legal system functioning.

          The Government alleges that Mr. Bannon committed a crime. Every act that they intend to

rely upon as proof involved Mr. Bannon’s reliance upon legal advice. Yet the Government wants

to redact the legal advice before presenting the evidence to the jury. The question remains: why

would the Government not want evidence of Mr. Bannon’s actual intent presented to the jury?

                                           Relevant Facts2

          On September 23, 2021, Kristen Amerling, Esq. (“Ms. Amerling”), Chief Counsel and

Deputy Staff Director of the Select Committee, telephoned Robert J. Costello, Esquire (“Mr.

Costello”), to ascertain whether he represented Stephen K. Bannon, and to inquire whether he was

authorized to accept a subpoena directed to Mr. Bannon. [US-000255]. Mr. Costello confirmed

that he represented Mr. Bannon and stated that he would seek authorization and get back to her.



2
    See also Declaration of Robert J. Costello, Esquire [Exhibit “1” hereto].
                                                   4
           Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 5 of 27




That same day, Ms. Amerling emailed Mr. Costello a subpoena for Mr. Bannon along with other

attachments. [US-000001 to 000010]. Ms. Amerling acknowledged in her email that Mr. Costello

would check with his client about acceptance of service. Id. Despite not having received

acceptance of service, Ms. Amerling sent an attachment to the email that included a “Proof of

Service” which stated that she had “Served” the subpoena on “9/23/21” and the “Manner of

service” was “email to attorney for Mr. Bannon, Robert Costello . . ..” [US-000002]. On September

24, 2021, Mr. Costello agreed to accept service of the subpoena on Mr. Bannon’s behalf. [US-

000257]. The subpoena had a return date of October 14, 2021, for Mr. Bannon’s testimony. [US-

000001].

       On October 5, 2021, Justin Clark, Esquire, counsel to former President Donald J. Trump,

telephoned Mr. Costello and advised him that President Trump was invoking executive privilege

with respect to the subpoena to Mr. Bannon. [US-001098]. On October 6, 2021, Mr. Costello

received a letter from Mr. Clark, which stated, in pertinent part:

       President Trump vigorously objects to the overbreadth and scope of these requests and
       believes they are a threat to the institution of the Presidency and the independence of the
       Executive Branch.

       Through the Subpoenas, the Select Committee seeks records and testimony purportedly
       related to the events of January 6th, 2021, including but not limited to information which
       is potentially protected from disclosure by the executive and other privileges, including
       among others, the presidential communications, deliberative process, and attorney-client
       privileges. President Trump is prepared to defend these fundamental privileges in court

       Therefore to the fullest extent permitted by law, President Trump instructs Mr. Bannon
       to: (a) where appropriate, invoke any immunities and privileges he may have from
       compelled testimony in response to the Subpoena; (b) not produce any documents
       concerning privileged material in response to the Subpoena; and (c) not provide any
       testimony concerning privileged material in response to the Subpoena.

[US-000971].




                                                 5
         Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 6 of 27




       Upon receipt of this letter from President Trump’s counsel, Mr. Costello provided legal

advice to Mr. Bannon. Mr. Costello advised Mr. Bannon that he did not have the ability to waive

executive privilege and he did not have the ability to discern what documents or communications

were privileged, since that authority belonged to former President Trump. [US-001771]. Mr.

Costello further advised Mr. Bannon that he should not provide documents or testify in response

to the subpoena, because Mr. Bannon must be guided by President Trump’s invocation of

privilege, pending an accommodation between the Select Committee and former President

Trump, or a judicial resolution of the matter. [US-001098].

       Mr. Costello advised Mr. Bannon that based upon legal authority in binding authoritative

opinions published by the U.S. Department of Justice Office of Legal Counsel (OLC), Mr.

Bannon did not have to appear or produce documents in response to the Select Committee

subpoena. Mr. Costello advised that the subpoena was invalid, among other reasons, because the

Select Committee prohibited counsel for President Trump from being present at the deposition in

order to protect executive privilege. [US-001772, 001779]. Mr. Costello confirmed with a Select

Committee attorney that the Select Committee would not allow counsel for President Trump to

attend Mr. Bannon’s deposition in order to protect executive privilege. [US- 000317 to 000318].

       On October 7, 2021, Mr. Costello emailed Ms. Amerling a letter detailing the

communication from President Trump’s counsel. It stated, in pertinent part, as follows:

       It is therefore clear to us that since the executive privileges belong to President Trump,
       and he has, through his counsel, announced his intention to assert those executive
       privileges enumerated above, we must accept his direction and honor his invocation of
       executive privilege. As such, until these issues are resolved, we are unable to respond to
       your request for documents and testimony…We will comply with the directions of the
       courts, when and if they rule on these claims of both executive and attorney client
       privileges. Since these privileges belong to President Trump and not to Mr. Bannon, until
       these issues are resolved, Mr. Bannon is legally unable to comply with you subpoena
       requests for documents and testimony.

                                                6
         Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 7 of 27




[US-000234-235]. On October 8, 2021, Mr. Costello received a letter response from

Congressman Bennie G. Thompson, Chair of the Select Committee, which rejected any assertion

of privilege. [US-000238 to 000239].

       On October 13, 2021, Mr. Costello spoke by telephone with Sean Tonolli, Esquire,

Senior Investigative Counsel for the Select Committee. Among other things, Mr. Tonolli told

Mr. Costello that the Select Committee would not allow an attorney for former President Trump

to be present and participate in the deposition of Mr. Bannon, or to assert privilege objections on

behalf of President Trump. [US-000317]. Mr. Costello advised Mr. Bannon that, based upon

OLC opinions, Mr. Bannon need not appear for a congressional deposition at which President

Trump’s attorney could not be present to assert executive privilege because the subpoena was

unconstitutional and a nullity. [US-001780].

       In a separate telephone call that same day, Mr. Costello told Mr. Tonolli that he had

asked counsel for President Trump (Mr. Clark) to delineate the subject areas upon which

President Trump was invoking executive privilege, but had not received a response, and that Mr.

Bannon was not in a position to draw those lines himself. [US-000318]. Mr. Costello informed

Mr. Tonolli that the privilege issues needed to be resolved between the Select Committee and

President Trump and that Mr. Bannon was on the sidelines of this inter-branch dispute. [US-

000318, 001780].

       On October 13, 2021, Mr. Costello emailed to Ms. Amerling a letter to Chairman

Thompson. In the letter, Mr. Costello provided legal authority for Mr. Bannon’s position given

President Trump’s assertion of executive privilege and stated that Mr. Bannon intended to

comply with the subpoena if President Trump withdrew his assertion of executive privilege, or if

a court ruled on the matter. The letter stated, in pertinent part, as follows:

                                                   7
         Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 8 of 27




       Mr. Bannon’s position is not in defiance of your Committee’s subpoena; rather, Mr.
       Bannon noted that President Trump’s counsel stated that they were invoking executive
       and other privileges and therefore directed us not to produce documents or give testimony
       that might reveal information President Trump’s counsel seeks to legally protect. Mr.
       Bannon has testified on three prior occasions, before the Mueller Investigation, The
       House Intelligence Committee and the Senate Intelligence Committee. In each of those
       instances, when President Trump waived his invocation of the executive privileges, Mr.
       Bannon testified.
       As recently as today, counsel for President Trump, Justin Clark, Esq., informed us that
       President Trump is exercising his executive privilege; therefore, he has directed Mr.
       Bannon not to produce documents or testify until the issue of executive privilege is
       resolved. Your Committee will have the right to challenge that exercise or its scope. That
       is an issue between the Committee and President Trump’s counsel and Mr. Bannon is not
       required to respond at this time. See Comm. on the Judiciary v. McGahn, 415 F. Supp. 3d
       148, FN 34 (D.D.C. 2019) (“The President can certainly identify sensitive information
       that he deems subject to executive privilege, and his doing so gives rise to a legal duty on
       the part of the aide to invoke the privilege on the President’s behalf when, in the course
       of his testimony, he is asked a question that would require disclosure of that
       information.”)[.]
       Until such time as you reach an agreement with President Trump or receive a court ruling
       as to the extent, scope and application of the executive privilege, in order to preserve the
       claim of executive and other privileges, Mr. Bannon will not be producing documents or
       testifying. As noted previously, Mr. Bannon will revisit his position if President Trump’s
       position changes or if a court rules on this matter.
[US-000315 to 000316]. Mr. Bannon followed Mr. Costello’s legal advice and did not appear for

deposition on October 14, 2021. [US-000277-288].

       On October 15, 2021, Ms. Amerling emailed Mr. Costello a letter signed by Chairman

Thompson. Among other things, the letter stated that the Select Committee planned to meet on

October 19, 2021, to consider whether to request that the U.S. House of Representatives find Mr.

Bannon in contempt. The letter invited Mr. Costello to provide additional information on Mr.

Bannon’s behalf by October 18, 2021. [US-000300 to 000301].

       On October 18, 2021, upon learning about the filing of a civil lawsuit, Mr. Costello sent

an email to Ms. Amerling. The attachment to that email was a letter to Chairman Thompson

requesting a short adjournment. The letter stated, in pertinent part, the following:


                                                 8
         Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 9 of 27




       We write on behalf of Stephen Bannon. We have just been advised of the filing of a
       lawsuit in federal court for the District Court of Columbia entitled Donald J. Trump v.
       Bennie Thompson, et al., 21-Civ-02769 (D.D.C. 2021). In light of this late filing, we
       respectfully request a one-week adjournment of our response to your latest letter so that
       we might thoughtfully assess the impact of this pending litigation.
[US-000290].

       The next morning, on October 19, 2021, Ms. Amerling emailed Mr. Costello a one-

paragraph response from Chairman Thompson rejecting Mr. Bannon’s request for a one-week

adjournment, noting that the Select Committee’s work was too “important and urgent” to justify

a one-week adjournment. [US-000275]. The same day, the Select Committee voted to

recommend that the U.S. House of Representatives find Mr. Bannon in Contempt of Congress.

[US-000322]. On October 21, 2021, the U.S. House of Representatives voted 229-202, largely

along party lines, to find Mr. Bannon in Contempt of Congress. [US-000459-504].

       Mr. Costello commenced discussions with representatives of the U.S. Attorney’s office

on Mr. Bannon’s behalf, seeking to persuade them that a criminal prosecution would be a

mistake. Mr. Costello made clear to Government counsel that Mr. Bannon acted upon his legal

advice, that the advice was based upon authoritative OLC opinions, and that long-standing DOJ

policy precluded a criminal prosecution. [US-001779 to 001782; US-001098 to 001105].

       On November 12, 2021, the indictment followed. [Doc. 1].

                                         ARGUMENT

       A. Evidence Of Advice Of Counsel Negates Criminal Intent

       The Select Committee sought the criminal prosecution of Mr. Bannon. If the Select

Committee really wanted information from Mr. Bannon, it could have taken the path suggested

by Mr. Bannon – having a judge decide the legal questions in the civil context. When the

Government proceeds with a criminal prosecution under 2 U.S.C. § 192, the accused is entitled

                                                9
        Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 10 of 27




to “every safeguard which the law accords in all other federal criminal cases.” Russell v. United

States, 369 U.S. 749, 755 (1962). Now, the Government essentially asks this Court to rule that

Mr. Bannon cannot put on a defense. See [Doc. 29 at 1] (“Any evidence or argument relating to

the Defendant’s or his counsel’s views of the law, or the Defendant’s reliance on it, should

therefore be excluded at trial.”). The Government’s position is that it need only prove that Mr.

Bannon received a subpoena and did not appear. This position must be rejected, as it would

violate Mr. Bannon’s constitutionally-based due process and trial rights.

       Every citizen accused of a crime must be afforded the constitutional right to present a

defense. See Crane v. Kentucky, 476 U.S. 683, 690 (1986) (“The Constitution guarantees

criminal defendants ‘a meaningful opportunity to present a complete defense.’”) (quoting

California v. Trombetta, 467 U.S. 479, 485 (1984)). It is a fundamental right rooted in the Fifth

Amendment’s Due Process Clause and the Sixth Amendment’s Compulsory Process and

Confrontation Clauses, as well as other fair trial rights. That guarantee extends to the evidence

and argument a defendant is allowed to present, and the jury instructions on defense theories.

See, e.g., United States v. Johnson, 944 F.2d 980, 988 (2d Cir.) (“A criminal defendant is entitled

to a jury charge that reflects any defense theory for which there is a foundation in the

evidence.”), cert. denied, 126 L.Ed. 2d 364, 114 S. Ct. 418 (1993).

       Reliance on advice of counsel fundamentally negates guilt. It bears on whether a

defendant acted “willfully” knowing that the action was unlawful. That is why the failure to

instruct a grand jury on advice of counsel may require dismissal of the indictment. United States

v. Stevens, 771 F. Supp. 2d 556, 567-568 (D. Md. 2011).3 That is also why failure to provide an



3
 A significant exception to the general rule that a prosecutor need not present exculpatory
evidence to a grand jury. See United States v. Williams, 504 U.S. 36 (1992).

                                                 10
        Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 11 of 27




advice of counsel jury instruction at trial may warrant reversal. See United States v. DeFries, 129

F.3d 1293, 1308-1309 (D. C. Cir. 1997) (reversing conviction for failure to give advice of

counsel jury charge in embezzlement case, where defense evidence suggested that they relied on

advice of counsel that their “severance payments” were not unlawful).

       A central issue in any criminal prosecution is the intent or mens rea element of the

offense charged. The Contempt of Congress statute charged in this case provides as follows:

       Every person who having been summoned as a witness by the authority of either House
       of Congress to give testimony or to produce papers upon any matter under inquiry before
       either House, or any joint committee established by a joint or concurrent resolution of the
       two Houses of Congress, or any committee of either House of Congress, willfully makes
       default, or who, having appeared, refuses to answer any question pertinent to the question
       under inquiry, shall be deemed guilty of a misdemeanor, punishable by a fine of not more
       than $1,000 nor less than $100 and imprisonment in a common jail for not less than one
       month nor more than twelve months.

2 U.S.C. § 192 (emphasis added).

       The Supreme Court has noted that the statute describes two separate types of conduct: (1)

“willfully makes default” and (2) appears but refuses to answer a pertinent question. United

States v. Murdock, 290 U.S. 389 (1933). The Supreme Court found that:

       Two distinct offenses are described in the disjunctive, and in only one of them is
       willfulness an element. Sinclair, having been summoned, attended the hearing. He was
       therefore guilty of no willful default in obeying a summons. He refused to answer certain
       questions not because his answers might incriminate him, for he asserted they would not,
       but on the ground the questions were not pertinent or relevant to the matters then under
       inquiry. The applicable statute did not make a bad purpose or evil intent an element of the
       misdemeanor of refusing to answer, but conditioned guilt or innocence solely upon the
       relevancy of the question propounded. Sinclair was either right or wrong in his refusal to
       answer, and, if wrong, he took the risk of becoming liable to the prescribed penalty.


Murdock, supra, 290 U.S. at 397. The language suggests that even as early as 1933, the Supreme

Court saw “bad purpose or evil intent an element of the misdemeanor of” the “willfully makes

default” offense.



                                                11
         Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 12 of 27




        This is consistent with older Supreme Court cases which hold that “willfully” requires

“bad purpose” or no “justifiable excuse.” See, e.g., Heikkinen v. United States, 355 U. S. 273,

279 (1958) (“[I]t cannot be said that he acted willfully - i.e., with a bad purpose or without

justifiable excuse”) (internal quotations omitted); Felton v. United States, 96 U. S. 699, 702

(1878) (willfully implies a bad purpose). As discussed below, over time the Supreme Court

moved away from the malleable concept of “bad purpose.”

        “Willfully makes default” is an inelegant formulation.4 There is no definition of “makes

default” or “willfully” in 2 U.S.C. § 192. Generally, “makes default” means failure to fulfill a

legal duty.5 See Default, BLACK’S LAW DICTIONARY (8th ed. 2004). “Willfully” is not

surplusage. It adds yet another layer and must be construed in context. See Bryan v. United

States, 524 U.S. 184, 191 (1998). In criminal statutes, “willfully” “typically refers to a culpable

state of mind.” Bryan, supra, 524 U.S at 191. “In other words, in order to establish a ‘willful’

violation of a statute, ‘the Government must prove that the defendant acted with knowledge that

his conduct was unlawful.’” Id. at 191-192 (quoting Ratzlaf v. United States, 510 U. S. 135, 137

(1994)). To meet its burden of proving a crime that requires that an action was done “willfully,”

the government must prove beyond a reasonable doubt “that the defendant acted with an evil-

meaning mind, that is to say, that he acted with knowledge that his conduct was unlawful.”

Bryan, supra, 524 U.S. at 193.6


4
  To the extent that the phrase “willfully makes default” is ambiguous, the defense reading
should prevail. See Adamo Wrecking Co. v. United States, 434 U. S. 275, 284-285 (1978)
(“‘where there is ambiguity in a criminal statute, doubts are resolved in favor of the defendant.’”)
(quoting United States v. Bass, 404 U. S. 336, 348 (1971)).
5
 For instance, in the civil context, a party defaults when they fail to fulfill a legal obligation
required by a contract.
6
 The Supreme Court has distinguished this meaning of “willfully” from another term used in
some criminal statutes, “knowingly.” See Bryan, supra, 524 U.S. at 193 (“unless the text of the
                                                  12
         Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 13 of 27




       The Government ignores controlling Supreme Court precedent that construes “willfully”

as requiring proof that a defendant knew his conduct was unlawful. Instead, the Government

relies upon Licavoli v. United States, 294 F.2d 207 (D.C. Cir. 1961). But that reliance is

misplaced. First, Licavoli was decided based on Sinclair v. United States, 279 U.S. 263 (1957).

See Licavoli, supra, 294 F.2d at 207. But Sinclair is no longer good law. See United States v.

Gaudin, 515 U.S. 506, 520 (1995). The Supreme Court has eviscerated Sinclair in no uncertain

terms. Id. at 520 (“[o]ther reasoning in Sinclair, not yet repudiated, we repudiate now”), and 521

(“we think stare decisis cannot possibly be controlling when, in addition to those factors, the

decision in question has been proved manifestly erroneous, and its underpinnings eroded, by

subsequent decisions of this Court”).

       Significantly, in the six decades since Licavoli, the Supreme Court has provided clarity

on the meaning of “willfully” in criminal statutes. See Bryan, supra, 524 U.S. at 196 (to establish

“willfulness” the Government must prove that a defendant knew his conduct was unlawful);

Ratzlaff v. United States, 510 U.S. 135, 138 (1994) (“to give effect to the statutory ‘willfullness’

specification, the Government had to prove [the defendant] knew the structuring he undertook

was unlawful”). In fact, the D.C. Circuit has recognized a progression over time in the Supreme

Court’s construction of the word “willfully.” See, e.g., United States v. Burden, 934 F.3d 675,

692-692 (D.C. Cir. 2019) (discussing Supreme Court approach to reading “willfully” as

requiring proof that a defendant had a “culpable state of mind” and knew that his acts were

unlawful). District courts have applied this law. See United States v. Zeese, 437 F. Supp. 3d 86,

94 (D.D.C. 2020) (“Generally, ‘in order to establish a ‘willful’ violation of a statute, ‘the




statute dictates a different result, the term ‘knowingly’ merely requires proof of knowledge of the
facts that constitute the offense”).
                                                 13
           Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 14 of 27




Government must prove that the defendant acted with knowledge that his conduct was

unlawful.’”) (citation omitted).

        The Government also relies on dicta in Yellin v. United States, 374 U.S. 109 (1963), a

case which read in its entirety undermines the Government’s position in this case. The

Government’s quotation of dicta from the opinion is misleading. [Doc. 29 at 4] (“should Yellin

have refused to answer in the mistaken but good-faith belief that his rights had been violated, his

mistake of law would be no defense”). The Government omits from its brief the next sentence in

the opinion. See Yellin, supra, 374 U.S. at 123 (“But he would at least be entitled to submit the

correctness of his belief to a court of law.”). It is also curious that the Government omits from its

brief the language in the paragraph from Yellin above its selected quotation, which reads as

follows:

        It may be assumed that if petitioner had expressly rested his refusal to answer upon a
        violation of Rule IV and the Committee nevertheless proceeded, he would be entitled to
        acquittal, were he able to prove his defense.

Id. This language supports the rule that a witness who offers evidence of a good faith and valid

reason for not complying a congressional subpoena may be entitled to acquittal. That is the

circumstance here, and Mr. Bannon should be afforded wide latitude to submit his defense to the

jury.

        The Government’s proposed definition of “willfully” in this case is anomalous. The

Government has provided no reason why recent controlling authority on the construction of

“willfully” in the Contempt of Congress statute should be ignored. The Government submits that

Mr. Bannon’s actual intent in responding to the congressional subpoena is of no matter. But the

Government provides no persuasive authority for this position. Quite to the contrary, the

Supreme Court has made clear that under 2 U.S.C. § 192, an accused is entitled to “every



                                                 14
        Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 15 of 27




safeguard which the law accords in all other federal criminal cases.” Russell, supra, 369 U.S. at

755. In fact, in other cases involving the word “willfully” the Government has accepted – as it

must – the Supreme Court’s guidance on the meaning of “willfully.” See, e.g., United States v.

Zeese, 437 F. Supp. 3d 86, 95 (D. D.C. 2020) (Howell, C.J.) (“The government and the

defendants thus agree that establishing a willful violation of 18 U.S.C. § 118 here requires proof

that defendants knew that it was unlawful for them to remain in the Embassy after DSS agents

had ordered them to leave.”) (emphasis added).

                            B. Reliance On OLC Opinions Negates Guilt

       The discussion above focuses on the intent element in any 2 U.S.C. § 192 prosecution.

But the specific circumstances of this case further demonstrate that advice of counsel is a core

issue that must be presented to the jury. This Court is well-versed in the separation-of-powers

principles involved. For most of this country’s history, disputes between the political branches

involving the testimony and document production by executive branch witnesses have been

resolved through accommodation, not criminal prosecution. Separation-of-powers interests have

historically meant that senior advisors to a President could not be compelled to testify or produce

documents to Congress. The rationale underlying this is that we want senior advisors to be

candid and offer a range of ideas to be considered in Presidential decision-making. The assertion

of executive privilege, which keeps those communications confidential, promotes candid

discussions. See In re Sealed Case, 121 F.3d 729, 750 (D.C. Cir. 1997) (noting critical role that

confidentiality plays in Presidential decision-making). Consistent with the separation of powers

doctrine, Congress cannot dictate to the Executive Branch when and how executive privilege

may be involved. Nor can Congress appoint itself as the arbiter of executive privilege disputes.




                                                 15
         Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 16 of 27




        The actions taken by Mr. Bannon were consistent with long-standing legal principles as

explained to him by his attorney. Mr. Bannon’s actions were intended to allow the Select

Committee and President Trump to reach an accord on the testimony and documents sought. See

United States v. AT&T, 567 F.2d 121, 127 (D.C. Cir. 1977) (Congress and Executive Branch

“should take cognizance of an implicit constitutional mandate to seek optimal accommodation”

to resolve disputes). Mr. Bannon’s attorney advised him that he could not waive executive

privilege on his own. His actions were fully consistent with his understanding of the law.

Therefore, evidence of the legal advice that Mr. Bannon relied upon must be presented to the

jury.

        Mr. Bannon received a congressional subpoena via his attorney, which included 10 pages

of arcane instructions and definitions. A former top White House advisor, he was informed by

Mr. Costello that the President who he had served was asserting executive privilege. As a lay

person, it is not surprising that he sought legal advice, and relied upon it to navigate this complex

legal issue. The fact that Mr. Bannon no longer worked in the White House added yet another

layer of complexity. Again, this involves legal issues beyond the ken of a layperson. Mr.

Bannon’s lawyer – an experienced former federal prosecutor – provided legal advice based on

specific U.S. Department of Justice OLC opinions that directly applied to the circumstances. Mr.

Bannon followed that advice. He was subsequently charged with a crime for acting in

accordance with that legal advice. These facts unquestionably bear on whether Mr. Bannon

“willfully ma[de] default” and must be presented to the jury.

        For instance, Mr. Bannon received and relied upon advice that pertained to the invalidity

of the subpoena given constitutional separation-of-powers principles. Just re-reading the

previous sentence signals that the issues involved are not within the daily knowledge of a lay



                                                 16
        Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 17 of 27




person. The sentence cries – “ask a lawyer.” Thus, it should be no surprise that Mr. Bannon did

just that. As a starting point, OLC authority directs that all presidential communications are

presumptively privileged. Congressional Oversight Of The White House, 45 Op. O.L.C. __, at

*34 (Jan. 8, 2021), available at https://www.justice.gov/olc/opinions-main. Moreover, the

Department of Justice has “long maintained . . . that the contempt statute does not apply to

executive branch officials who resist congressional subpoenas in order to protect the prerogatives

of the Executive Branch.” Id. at 50. As recently as 2021, OLC has opined that:

       The White House has declined to make many of the President’s immediate advisers
       available since the establishment of the EOP, and for almost 50 years, the Department of
       Justice has articulated this position as a legal immunity – that “the President and his
       immediate advisers are absolutely immune from testimonial compulsion by a
       Congressional committee on matters related to their official duties.” Immunity of the
       Former Counsel, 43 Op. O.L.C. __, at *3 (internal quotation marks omitted).21 As
       Assistant Attorney General Rehnquist explained:

       The President and his immediate advisers – that is, those who customarily meet with the
       President on a regular or frequent basis – should be deemed absolutely immune from
       testimonial compulsion by a congressional committee. They not only may not be
       examined with respect to their official duties, but they may not even be compelled to
       appear before a congressional committee.

Memorandum for John D. Ehrlichman, Assistant to the President for Domestic Affairs, from

William H. Rehnquist, Assistant Attorney General, Office of Legal Counsel, Re: Power of

Congressional Committee to Compel Appearance or Testimony of “White House Staff” at 7

(Feb. 5, 1971); see also Immunity of the Former Counsel to the President from Compelled

Congressional Testimony, 43 Op. O.L.C. __, at *7-11 (July 10, 2007) (“Immunity of Former

Counsel”), available at https://www.justice.gov/olc/opinions-main (listing historical examples of

immediate presidential advisors refusing to testify); Letter for Phillip E. Areeda, Counsel to the

President, from Antonin Scalia, Assistant Attorney General, Office of Legal Counsel, at 6 (Sept.

25, 1974) (“at least since the Truman Administration,” presidential advisors “have appeared



                                                17
        Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 18 of 27




before congressional committees only where the inquiry related to their own private affairs or

where they had received Presidential permission”).

       How do these principles apply to a Presidential advisor like Mr. Bannon, after they have

left the federal government? The answer is that executive privilege survives a job change.

Governing legal principles apply even after a Presidential advisor leaves the White House. See

Immunity of Former Counsel at *2; See also Congressional Oversight of the White House , 45

Op. O.L.C. __, at *15-16 (Jan. 8, 2021) , available at https://www.justice.gov/olc/opinions-main

(explaining that “the risk to the separation of powers and to the President’s autonomy posed by a

former adviser’s testimony on official matters continues after the conclusion of that adviser’s

tenure”).

       Mr. Bannon relied upon legal advice that the Select Committee subpoena was invalid

because the committee would not allow former President Trump’s lawyer to appear to assert and

protect executive privilege. As was explained to Mr. Bannon, OLC opinions hold that under

these unique circumstances, non-compliance with a congressional subpoena is lawful. See

Congressional Oversight Of The White House, supra, at *56 (“subpoenas requiring White House

personnel to testify without agency counsel are therefore without legal effect and may not

constitutionally be enforced, civilly or criminally, against their recipients”); Attempted Exclusion

of Agency Counsel from Congressional Depositions of Agency Employees, 2019 WL 2563045

(O.L.C.) at *1 (May 23, 2019) (“Congressional subpoenas that purport to require agency

employees to appear without agency counsel are legally invalid and are not subject to civil or

criminal enforcement.”).7


7
 The legal guidance provided by OLC is clear. Hence, even if there was no attorney involved,
and Mr. Bannon read the opinions, evidence of Mr. Bannon’s consideration of this information
would negate criminal intent.

                                                 18
         Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 19 of 27




       Mr. Bannon also relied upon legal advice that he did not have to comply with the

subpoena because former President Trump was asserting executive privilege. OLC opinions and

the long-standing policy of the Department of Justice, as explained to Mr. Bannon by counsel,

hold that non-compliance with the subpoena under the circumstances would be lawful. See

Prosecution for Contempt of Congress of an Executive Branch Official Who Has Asserted a

Claim of Executive Privilege, 8 Op. O.L.C. 101, 129 (1984) (“We believe that the Department’s

long-standing position that the contempt of Congress statute does not apply to executive officials

who assert Presidential claims of executive privilege is sound, and we concur with it.8

       What about his status as a former federal employee? Again, Mr. Bannon was advised of,

and relied upon, advice of counsel based on OLC authority that stated that former executive

branch officials must, protect executive privilege upon request of the privilege-holder. An OLC

opinion states, in pertinent part, as follows:

       . . . communications between White House officials and individual outside the Executive
       Branch, including with individuals in the Legislative Branch . . . fall within the scope of
       executive privilege . . . Naturally, in order for the President and his advisers to make an
       informed decision, presidential aides must sometimes solicit information from individuals
       outside the White House and the Executive Branch.


Letter from Paul D. Clement, Solic. Gen./Acting Att’y Gen., to President George W. Bush (June

27, 2007), https://www.hsdl.org/?view&did=741974. It is beyond dispute that Mr. Bannon

received and acted in accordance with his attorney’s advice. This utterly negates the




8
 See also Letter from Ronald C. Machen Jr., United States Attorney, to Speaker of the House
John A. Bohner, (March 31, 2015) at 6 (“It has long been the position of the Department, across
administrations of both political parties, that we will not prosecute an Executive Branch official
under the contempt of Congress statute for withholding subpoenaed documents pursuant to a
presidential assertion of executive privilege.”).
                                                 19
         Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 20 of 27




Government’s position that Mr. Bannon knew his actions were unlawful. Mr. Bannon is

therefore entitled to present this defense to the jury.

       Mr. Bannon was on solid ground when following the OLC opinions. The OLC is nearly

as old as our nation and has opined on some of the weightiest matter in public life. Citizens for

Responsibility & Ethics in Wash. v. U.S. Dep’t of Justice, 846 F.3d 1235, 1238 (D.C. Cir. 2017).

OLC opinions are authoritative and binding by custom and practice in the Executive branch.

Citizens for Responsibility & Ethics in Wash. v. U.S. Dep’t of Justice, 922 F.3d 480, 484 (D.C.

Cir. 2019). Accordingly, OLC opinions are entitled to great weight. They “reflect the legal

position of the executive branch” and “provide binding interpretive guidance for executive

agencies.” Casa de Maryland v. United States Dep’t of Homeland Sec., 924 F.3d 684, 718 n.1

(4th Cir. 2019).

       The legal authority that Mr. Bannon relied upon was sound. It had been the authoritative

position of the executive branch across administrations of both political parties over many

decades. It was objectively reasonable for Mr. Bannon to rely on it. But even if Mr. Bannon’s

reliance was misplaced, he did not commit a crime. The Supreme Court has held that a criminal

defendant has not acted willfully even when the actions taken were based upon a good faith

misunderstanding of the law or a good faith belief that the acts were not in violation of the law,

regardless of whether the misunderstanding or belief was objectively reasonable. Cheek v. United

States, 498 U.S. 192, 203 (1991) (noting that “forbidding the jury to consider evidence that

might negate willfulness would raise a serious question under the Sixth Amendment’s jury trial

provision.”). Because Mr. Bannon’s reliance on Mr. Costello’s advice goes to the core question

of whether he “willfully ma[de] default,” the defense must be allowed to present evidence and

argument on this topic at trial.



                                                  20
        Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 21 of 27




       Mr. Bannon’s right to present advice of counsel evidence is also supported by additional

legal defenses pertinent to this case. For instance, he may rely at trial upon a public authority

defense, such as the defense of entrapment by estoppel. See Raley v. State of Ohio, 360 U.S. 423,

438 (1959). In Raley, the Court found that the government may not convict “a citizen for

exercising a privilege which the State clearly had told him was available to him.” Id. The case

involved an accused charged with failing to answer questions put to him by the Un-American

Activities Commission of the State of Ohio. Id. at 424. The accused had invoked the privilege

against self-incrimination on advice that the privilege applied. Id. at 425. The accused was

indicted for refusing to answer the questions, even though certain Commission members stated

that it was acceptable to invoke privilege rather than answer the questions posed. Id. The

Supreme Court reversed, holding that due process does not permit the criminal conviction of a

person who acts in reliance on authoritative pronouncements by relevant government officials or

a government agency. Id. at 438-39; see also United States v. Abcasis, 45 F.3d 39, 44 (2d Cir.

1995) (entrapment by estoppel “focuses on the conduct of the government leading the defendant

to believe reasonably that he was authorized to do the act forbidden by law. The doctrine

depends on the unfairness of prosecuting one who has been led by the conduct of government

agents to believe his acts were authorized.”); United States v. Levin, 973 F.2d 463, 468 (6th Cir.

1992) (entrapment by estoppel is a defense to criminal liability where a government agency

announces that a charged criminal act was lawful and accused reasonably relied on that

announcement).

       It is not clear what the Government is seeking. The motion requests that “[a]ll evidence

and argument related to good-faith reliance on the law or an attorney’s advice should therefore

be excluded at trial.” [Doc. 29 at 8]. It would unprecedented in a criminal case, however, to



                                                 21
         Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 22 of 27




prohibit an accused from presenting evidence that their actions were based on reliance on “the

law” and it is an absurd proposition to urge otherwise. Mr. Bannon has the due process right to

raise the defense of entrapment by estoppel based on his reliance on the binding authority of the

OLC opinions described above. He must also be allowed to present evidence that supports any

other defense based on his “good-faith reliance on the law.” See generally, United States v.

House of Representatives, 556 F. Supp. 150, 152-153 (D.D.C. 1983) (constitutional claims and

other objections to congressional investigatory procedures may be raised as defenses in a

criminal prosecution under Sec. 192, and this expressly includes the defense of executive

privilege).

       C. Contempt Of Court Is Distinguishable

       There are significant differences between the following two scenarios: (1) an attorney

advising a client to disobey a lawful court order; and (2) an attorney advising a former top White

House official – consistent with long-standing U.S. Department of Justice policy – not to appear

before or provide documents to a congressional committee after a President has invoked

executive privilege. The former case, for instance, involves no separation-of-powers principles

involving co-equal branches of government. But another key distinction is the language of the

two statutes involved. Because of these differences, the Government’s reliance on Contempt of

Court principles is misplaced. While Contempt of Congress and Contempt of Court have in

common the word “contempt,” any similarity ends there.

       Contempt of Court cases are different in nature than civil actions or criminal

prosecutions. See Myers v. United States, 264 U.S. 95, 103 (1924) (“Contempt proceedings are

neither civil actions nor prosecutions for offenses within ordinary meaning of those terms; but

are assertions of power inherent in all courts to enforce obedience which they must possess in



                                                22
        Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 23 of 27




order properly to perform their functions.”). The availability of Contempt of Court proceedings

promotes expedition in the administration of law. See United States v. Ryan, 402 U.S. 530, 533

(1971). The court system could not function if every litigant or witness could disregard lawful

orders. There is no similar need for expedition where a congressional committee is conducting

fact-finding in advance of legislation. To deal with immediate threats to its functions, Congress

has the power to “guard itself from contempts.” Anderson v. Dunn, 19 U.S. 204, 228 (1821). But

in this case, it has taken a different route – and there are many added steps when Congress seeks

to initiate a prosecution under 2 U.S.C. § 192.

       The Contempt of Court statute cited by the Government, 18 U.S.C. § 401(3), does not

contain any of the words “willfully” “makes” or “default” – much less that combination of words

as an element of the offense. So that statute cannot be used to construe the meaning of those

words in 2 U.S.C. § 192.9

       Beyond that, the cases the Government cites in its motion do not support the blanket

position that an accused in criminal contempt proceedings cannot present evidence of reliance on

advice of counsel. See, e.g., United States v. Myers, 302 Fed. App’x 201, 205 (4th Cir. 2008)

(district court “did not believe Myers had a legitimate, good faith belief in the advice from her

counsel”); United States v. Monteleone, 804 F.2d 1004 (7th Cir. 1986) (no error where trial court

refused to instruct jury on reliance in good faith on the advice of counsel where: (1) a judge

immunized a witness and ordered him to testify before a grand jury; (2) the witness appeared

before the grand jury and read a short statement saying he had previously refused to testify on




9
 While 18 U.S.C. § 401(3), not cited by the Government, does use the word “willfully” – it
applies to actions that are both contempt of court and also constitute a criminal offense under
federal or state law. Thus, that statute does not provide guidance on construing an element of 2
U.S.C. § 192.
                                                  23
        Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 24 of 27




the advice of counsel, then refused to answer any questions; and therefore (3) the 7th Circuit

found that because the order to testify before the grand jury was “unambiguous and

uncomplicated . . . [the witness] could not reasonably have believed that reading his statement

complied with that order, no matter what his lawyer told him”).10

       In short, the Government’s reliance on Contempt of Court principles is misplaced.11




10
  Nor does the Rapone case, cited by the Government, provide guidance on construing the
phrase “willfully makes default.” That case involved the repeated retaliatory harassment of a
witness in an ongoing sexual harassment lawsuit, in direct violation of a court order. The D.C.
Circuit found “abundant evidence” from which a reasonable fact-finder could find that the
conduct involved – repeated harassing acts despite repeated warnings to obey the court's order,
could lead a reasonable factfinder to find a willful violation of the order). United States v.
Rapone, 131 F.3d 188, 195 (D.C. Cir. 1997).
11
   Moreover, the Government appears to subscribe to the notion “consistency is the hobgoblin of
little minds.” (Ralph Waldo Emerson, “Self-Reliance” Essays: First Series 1841). Its position
on the availability of an advice of counsel defense appears to have shifted even with respect to a
contempt prosecution under Section 401. The Court in United States v. Taylor, 139 F.3d 924,
934 n.10 (D.C. Cir. 1998) expressly noted, in the context of the Section 401 contempt
prosecution at issue, that this same U.S. Attorney’s office did not contest the availability of an
advice of counsel defense in such a prosecution and the district court assumed it was available as
well, obviating the need for the circuit court to address the issue.
                                                24
        Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 25 of 27




                                        CONCLUSION

       WHEREFORE, Defendant Stephen K. Bannon respectfully requests that this Court deny

the Government’s Motion In Limine To Exclude Evidence Or Argument Relating To Good-Faith

Reliance On Law Or Advice Of Counsel, for the reasons set forth above, together with those

offered at any hearing on the motion.

Dated: February 25, 2022                  Respectfully submitted,

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                                            25
        Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 26 of 27




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 25th day of February 2022, a copy of the foregoing

Opposition To Government’s Motion In Limine To Exclude Evidence Or Argument Relating To

Good-Faith Reliance On Law Or Advice Of Counsel was served via the Court’s CM/ECF system

on all properly registered parties and counsel.


                                                 /s/ M. Evan Corcoran
                                              M. Evan Corcoran (D.C. Bar No. 440027)




                                                  26
        Case 1:21-cr-00670-CJN Document 30 Filed 02/25/22 Page 27 of 27




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                                          ORDER

      Upon consideration of the Government’s Motion In Limine To Exclude Evidence Or

Argument Relating To Good-Faith Reliance On Law Or Advice Of Counsel, the Defendant’s

Opposition, the Government’s Reply, and the entire record in the case, it is hereby ORDERED

that the Government’s Motion is DENIED.



Dated: __________, 2022

                                                 ____________________________________
                                                 Hon. Carl J. Nichols
                                                 United States District Judge




                                            27
